
PER CURIAM.
We dismiss this appeal for lack of jurisdiction. The notice of appeal was filed on February 9, 2010, and sought review of a December 16, 2009, final order. The notice of appeal was not filed within 30 days of rendition of the final order as required by Florida Rule of Appellate Procedure 9.110(c). See First Nat’l Bank in Ft. Myers v. Fla. Unemployment Appeals Comm’n, 461 So.2d 208 (Fla. 1st DCA 1984) (stating that appellant’s failure to file the notice of appeal within the requisite 30-day period is “an irremediable jurisdictional defect.”).
DISMISSED.
KAHN, ROWE, and MARSTILLER, JJ., concur.
